     Michael A. Patterson, Admitted Pro Hac Vice
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 5   Attorneys for Plaintiffs

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     Attorney for Plaintiffs
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11
                                  IN THE UNITED STATES DISTRICT COURT
12                                     FOR THE DISTRICT OF ALASKA

13
     FAMILY OUTREACH CENTER FOR
14   UNDERSTANDING SPECIAL NEEDS,
     INC., dba FOCUS, INC.; CRAIG ROSE                     No. 3:13-cv-00174-JWS
15   and JENNIFER ROSE, individually, and on
     behalf of their minor children, M.R. and
16   K.R.,                                                 NOTICE OF SETTLEMENT

17                       Plaintiffs,

18            v.

19   WELLS FARGO INSURANCE SERVICES
     USA, INC., DOE AGENTS 1-10, and DOE
20   CORPORATIONS 11-20,,

21                       Defendants.

22
              Plaintiffs Focus, Inc., Craig Rose and Jennifer Rose, individually and on behalf of their
23
     minor children, M.R. and K.R, hereby advise the Court that the matters raised in this case have
24
     been settled. Pursuant to District of Alaska Local Rule 68.3(b), a certified copy of the order of
25
     the Superior Court of the State of Alaska approving the settlement will be filed with this court

     NOTICE OF SETTLEMENT - 1                                         PATTERS ON BU CHANAN
                                                                     FOBES & LEI TCH, IN C., P.S.
     3:13-cv-00174-JWS
     383293                                                    2112 Third Avenue, Suite 500, Seattle WA 98121
                                                                                                  •   •




                                                                     Tel. 206.462.6700 Fax 206.462.6701
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 1   along with a stipulation and proposed Order of Dismissal. Accordingly, the case may be

 2   removed from the Court’s trial calendar.

 3            This notice is intended to satisfy the Court’s Order of January 21, 2015, requiring the

 4   Plaintiff to provide a status update to the Court regarding outstanding matters.

 5            Dated: February 4, 2015.

 6                                                 PATTERSON BUCHANAN
                                                   FOBES & LEITCH, INC., P.S.
 7

 8
                                                   By: s/ Michael A. Patterson
 9                                                 By: s/ Donald F. Austin
                                                      Michael A. Patterson, WSBA No. 7976
10                                                    Admitted Pro Hac Vice
                                                      Donald F. Austin, WSBA No. 35293
11                                                    Admitted Pro Hac Vice
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     NOTICE OF SETTLEMENT - 2                                        PATTERS ON BU CHANAN
                                                                    FOBES & LEI TCH, IN C., P.S.
     3:13-cv-00174-JWS
     383293                                                   2112 Third Avenue, Suite 500, Seattle WA 98121
                                                                                                 •   •




                                                                    Tel. 206.462.6700 Fax 206.462.6701
                                                                                    •




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                                     CERTIFICATE OF SERVICE
 1
              I hereby certify that on February 4, 2015, I electronically filed the foregoing with the
 2

 3   Clerk of the Court using the CM/ECF system which will send notification of such filing to the

 4   following:

 5            Mr. Gary Zipkin
              Mr. Joshua Van Gorkom
 6            Mr. Jon Buchholdt
 7
              DATED this 4th day of February, 2015 at Seattle, Washington.
 8

 9                                                        s/ Carolyn D. Larcom
                                                          Carolyn D. Larcom, Legal Assistant
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     NOTICE OF SETTLEMENT - 3                                        PATTERS ON BU CHANAN
                                                                    FOBES & LEI TCH, IN C., P.S.
     3:13-cv-00174-JWS
     383293                                                   2112 Third Avenue, Suite 500, Seattle WA 98121
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                                                                                    •




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